                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA,
       Plaintiff,

                                                             Case No. 24-CR-00198-SRB

DELEON REED,
      Defendant.


                             MOTION TO CONTINUE TRIAL



        COMES NOW defendant Deleon Reed, by and through counsel, Laura E. O'Sullivan, and

 respectfully requests this Court to continue the trial of this matter currently set for June 2, 2025,

 to the September 15, 2025, trial docket. Mr. Reed offers the following in support:

1.     On September 10, 2024, an Indictment was filed charging Mr. Reed. Mr. Reed is

       charged with one count of felon in possession of a firearm, in violation of 18 U.S.C. §§


       922(g)(1) and 924(a)(8), and one count of possession of a machinegun in violation of 18

       U.S.C. §§ 922(o) and 924(a)(2). Doc. 1.


2.     Mr. Reed was already detained as a result of supervised release violation allegations in

       18-CR-00038. Mr. Reed remains in custody in both matters.

3.     The Court appointed undersigned counsel in this matter on September 11, 2024. Doc. 3.

4.     On September 18, 2024, Mr. Reed appeared before United States Magistrate Judge

       Lajuana M. Counts for his arraignment and detention hearing. The Court granted the

       government’s motion for pretrial detention finding Mr. Reed ineligible for release on



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      bail. Mr. Reed was remanded to the custody of the U.S. Marshal. The case was

      originally set to commence on the joint criminal jury trial docket of October 21, 2024.

      Undersigned counsel orally requested a continuance, and the Court set this matter on the

      joint criminal jury trial docket commencing January 6, 2025. Doc. 5.

5.    On November 21, 2024, counsel requested a continuance of the January trial date. Doc.

      10. The Court continued the trial to June 2, 2025. Doc. 12.

6.    Counsel has been communicating with Ms. Ragner in an attempt to move this matter

      toward disposition. Both Ms. Ragner and counsel agree that additional time is necessary

      to resolve this matter.

7.    On its face, this case may not appear to be a complicated matter; however, this case and

      the allegations in 18-CR-00038 are intertwined and complicate the issues in both

      matters.

8.    Mr. Reed and undersigned counsel require additional time to review the discovery,

      adequately investigate and prepare for trial, or seek other resolution. The defense

      cannot reasonably be ready for trial by June 2, 2025.

9.    Additionally, counsel needs additional time to prepare and file pretrial motions. Counsel

      filed a Motion for Extension of Time to file Pre-Trial Motions on February 24, 2025. Doc.

      15. If this motion is granted, the trial date would need to be continued in order to

      accommodate the litigation schedule for these motions.

10.   Undersigned counsel contacted Ashleigh Ragner, Assistant United States Attorney, and

      she does not object to a continuance.

11.   On February 27, 2025, Mr. Reed was advised of his Speedy Trial rights and consented to

      this continuance request.

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12.   This continuance is not sought for the purpose of dilatory delay but is sought in truth and

      fact that Mr. Reed may be afforded due process of law under the Fifth Amendment to

      the United States Constitution and afforded effective assistance of counsel under the

      Sixth Amendment to the United States Constitution. In accordance with 18 U.S.C. §§


      3161(h)(7)(A) and (B)(iv), it is submitted that the above stated reasons for a continuance

      outweigh the best interest of the public and the defendant to a speedy trial, which is

      required by 18 U.S.C. § 3161(c)(1).


13.   Under the provisions of 18 U.S.C. § 3161(h)(8)(A), the period of time until the next


      criminal trial docket should be excluded in computing the period of time in which the

      defendant should be brought to trial under the provisions of the Speedy Trial Act.

       WHEREFORE Mr. Reed respectfully requests this Court to remove this case from the

June 2, 2025, trial docket, and to continue this case to the September 15, 2025, trial docket, and

for such other relief this Court deems just and proper.


                                      Respectfully Submitted,

                                      SANDAGE LAW, LLC.

                                      /s/ Laura O'Sullivan
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                                      Attorney for Defendant




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                              CERTIFICATE OF SERVICE

       On February 28, 2025, I served this document by depositing an electronic copy of it in
the Court’s CM/ECF system, which shall distribute notice to all attorneys of record.


                                              /s/ Laura O'Sullivan
                                              Laura O'Sullivan




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